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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                    CASE NO.: 8:24-cr-00068-KKM-TGW

  TIMOTHY BURKE
  _____________________________/

       RESPONSE TO THE COURT’S ORDER STRIKING DEFENDANT’S
                        MOTION TO DISMISS


         COMES NOW Defendant, TIMOTHY BURKE, through undersigned

  counsels, Mark Rasch, Esq., and Michael P. Maddux, Esq., who respectfully

  submit this response addressing errors contained within Defendant's

  previously filed Memorandum in Support of Defendant's Motion to

  Dismiss as called for in this Court’s Order (Doc. 124). In support thereof,

  undersigned counsels state as follows:


         1.    On May 6, 2025, the Court heard oral arguments on

  Defendant’s Motion for Reconsideration. (Doc 113 & 118) Following the

  hearing,    the   Court    entered   an    Order    denying     the   Motion    for

  Reconsideration and allowing the Defendant leave to file a new Motion to

  Dismiss by May 13, 2025. (Doc 117)


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        2.     The case has been handled from a team perspective. With local

  counsel and counsel out of Maryland, there are geographic logistics to

  working together. The mistakes and ill-advised reliance on AI occurred in

  the crucible of a time deadline to file the motion and a team operating with

  numerous case commitments in a variety of cases. As discussed later,

  better team communication, seeking an extension to file the motion, and

  full awareness of how the pleading was drafted would have prevented the

  host of mistakes.

        3.     Counsel Rasch assumed the writing responsibilities for the

  motion given his presentation of the oral arguments at the May 6 hearing.

        4.     On May 12, 2025, Attorney Maddux, began a criminal trial in

  the matter of USA v. Jamonte Thornton, 8:24-cr-240-VMC-AAS, charging an

  18 U.S.C. 922(g) 15-year minimum mandatory ACCA count. The trial

  ended on May 14, 2025, at approximately 2:18 PM. (Exhibit A; Clerk’s

  Minutes Entry Day 3). A not guilty verdict was rendered on May 14, 2025

  at 1:49 PM. The trial and its outcome were counsel’s singular focus during

  this time.

        5.     On May 13, 2025, at approximately 8:08 pm, Co-Counsel, Mark

  Rasch, filed the Motion to Dismiss with the Clerk. (Doc 119)
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        6.    The Motion was not written by or reviewed by Attorney

  Maddux prior to filing given the trial responsibilities. The signature block

  form was carried over from previous pleadings in the case. In the future,

  counsels’ signatures will not be added as a matter of form.

        7.    Both counsels deeply regret and formally apologize to the

  Court and opposing counsel for the situation before the Court.

        8.    Counsel Mark Rasch, Esq., assumes sole and exclusive

  responsibility for these errors and Mr. Burke bears no responsibility for

  these inaccuracies.

        9.    Counsel Rasch engaged in substantial legal research and

  writing to prepare the memorandum. This included the use of Westlaw,

  Westlaw’s AI features, Google, Google Scholar, as well as the “deep

  research” feature of the Pro version of ChatGPT version 4.5.                 A

  combination of these tools produced the final product. In the gristmill of

  drafting and editing, Westlaw Quick check was used several times, but the

  final version that had substantial editing due to excessive length was not

  ultimately put through Westlaw Quick Check.

        10.   During the editing and revision process, certain corrected and

  properly verified portions of the memorandum were inadvertently
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  replaced with portions from multiple earlier drafts which had not

  undergone verification.       This included research, which had not been

  reviewed, being retained, while arguments and research that had been

  vetted being deleted.      This resulted in the retention of unverified and

  erroneous citations.

        11.   Counsel Rasch fully recognizes that the prudent approach,

  given the size, complexity, and scope of the memorandum, would have

  been to request additional time from this Honorable Court to complete a

  final verification and editing process. Counsel regrets not having taken this

  step and apologizes sincerely for any inconvenience, confusion, and

  distrust caused to this Court, opposing counsel, and Mr. Burke.

        12.   There was no intention to mislead the Court or opposing

  counsel, nor any intention to delay these proceedings or advance

  arguments or cite cases unsupported by law or precedent. Retaining

  credibility with this Honorable Court is essential, and both attorneys

  recognize the seriousness of this obligation. Both attorneys would like to

  remain on the case.

        13.   In the future, attorneys will ensure no pleadings are filed

  without conducting a detailed and manual case law check and will seek
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  additional time to write pleadings if necessary. The team will consult

  comprehensively about the state of pleadings prior to filing. Both attorneys

  realize that candor with the Court is of utmost importance and that

  systems and processes that fail to preserve it must be guarded against.

  Both attorneys pledge renewed vigilance and hope to reestablish good

  standing with the Court.


  Respectfully and with Apologies,


  s/Michael P. Maddux                         s/Mark D. Rasch
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  Florida Bar # 964212                        Law Office of Mark Rasch
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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 19th day of May, 2025, I electronically

  filed the foregoing with the Clerk of Court by using the CM/ECF system.

                                       s/Michael P. Maddux
                                       Michael P. Maddux, Esquire




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